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                       Exhibit A

                    Amended Claims
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                                                            AMENDED CLAIMS


          Name of Claimant        Amended       Surviving      Relevant         Claim                            Reason for Disallowance
                                  Claim No.     Claim No.       Debtor        Amount ($)
                                     to be
                                  Disallowed

1.   Morton, Natasha              594          774           St.             $1,724.30       Claim documents reflect that the disallowed claim has been
                                                             Christopher’s                   superseded by the amended Surviving Claim.
                                                             Healthcare,
                                                             LLC

2.   Pennsylvania Department of   1105         1260          Center City     $1,545,825.99   Claim documents reflect that the disallowed claim has been
     Revenue                                                 Healthcare,                     superseded by the amended Surviving Claim. Although claim
                                                             LLC                             1260 indicates that it is an amendment of claim 853, claimant has
                                                                                             confirmed to Debtors’ counsel that claim 1260 is actually an
                                                                                             amendment of claim 1105.

3.   Pennsylvania Department of   530          771           St.             $475,037.37     Claim documents reflect that the disallowed claim has been
     Revenue                                                 Christopher’s                   superseded by the amended Surviving Claim.
                                                             Healthcare,
                                                             LLC

4.   Pennsylvania Department of   538          773           St.             $424,183.55     Claim documents reflect that the disallowed claim has been
     Revenue                                                 Christopher’s                   superseded by the amended Surviving Claim, and claimant has
                                                             Healthcare,                     confirmed to Debtors’ counsel that claim 773 amends claim 538.
                                                             LLC
